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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


AVON NURSING AND REHABILITATION,
et al.,

                             Plaintiffs,

            - against -                                18 Civ. 2390 (LTS) (SDA)

ALEX M. AZAR II, Secretary of Health and
Human Services,

                             Defendant.


                           BRIEF OF THE
               AMERICAN HEALTH CARE ASSOCIATION,
         NEW YORK STATE HEALTH FACILITIES ASSOCIATION,
    ALABAMA NURSING HOME ASSOCIATION, GEORGIA HEALTH CARE
ASSOCIATION, AND KENTUCKY ASSOCIATION OF HEALTH CARE FACILITIES
              AS AMICI CURIAE SUPPORTING PLAINTIFFS

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                                               Motion for Admission Pro Hac Vice Pending
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                        CORPORATE DISCLOSURE STATEMENT

       The undersigned certifies that the American Health Care Association, New York State

Health Facilities Association, Alabama Nursing Home Association, Georgia Health Care Associ-

ation, and Kentucky Association of Health Care Facilities each has no corporate parents and,

because each association is a non-profit, tax-exempt organization, no publicly held corporation

has a 10-percent or greater ownership interest in any of the foregoing associations.



                                                               s/James F. Segroves
                                                                James F. Segroves




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                               INTEREST OF AMICI CURIAE

       The American Health Care Association (“AHCA”) serves as the national representative

of more than 13,500 facilities dedicated to improving the lives of more than 1.5 million Ameri-

cans who live in Medicare-participating skilled nursing facilities (“SNFs”), Medicaid-

participating nursing facilities (“NFs”), assisted living communities, and other settings through-

out the United States. One way in which AHCA promotes the interests of its members is by

participating as an amicus curiae in cases with important and far-ranging consequences for its

members—including cases such as this one presenting important legal questions related to the

survey process administered by the Centers for Medicare & Medicaid Services (“CMS”) under

the statutory framework established by the Omnibus Reconciliation Act of 1987 (“OBRA ’87”),

Pub. L. No. 100-203, §§ 4202(a)(2), 4212(a), 101 Stat. 1330, 1330-175, 1330-207 (codified as

amended at 42 U.S.C. §§ 1395i-3(g), 1396r(g)). Reflective of the survey process’s far-reaching

importance, four state-level affiliates of AHCA—the New York State Health Facilities Associa-

tion (“NYSHFA”), the Alabama Nursing Home Association (“ANHA”), the Georgia Health

Care Association (“GHCA”), and the Kentucky Association of Health Care Facilities

(“KAHCF”)—have joined AHCA in filing this brief.

       AHCA, NYSHFA, ANHA, GHCA, and KAHCF (collectively, the “Amici Associations”)

have a substantial interest in ensuring that the survey process satisfies the statutory requirements

imposed by OBRA ’87. When done properly, the survey process helps ensure quality of care for

residents of SNFs/NFs through the careful, even-handed application of clinical expertise and

regulatory knowledge. However, when done improperly, the survey process results in arbitrary

punishment of SNFs/NFs through, among other things, the imposition of hundreds of thousands

of dollars in civil monetary penalties that drain facility resources and make it more difficult to

deliver high-quality care.


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       This case arises from recent regulatory amendments promulgated by CMS, which is an

operating component within the Department of Health and Human Services. See Survey Team

Composition, 82 Fed. Reg. 36,530, 36,635–36 (Aug. 4, 2017) (codified in scattered sections of

42 C.F.R.) (“2017 Final Rule”). The 2017 Final Rule purported to “clarify” that survey teams

performing so-called “complaint surveys”—surveys of SNFs/NFs that are conducted on the basis

of a substantial allegation of noncompliance with the requirements for participation in Medicare

and Medicaid—do not have to include a registered nurse. Id. at 36,625. This purported clarifica-

tion did not go unchallenged during the notice-and-comment process. AHCA, for example,

responded to CMS’s proposed rule by submitting a comment letter challenging the legality of the

proposed changes and repeatedly asserting that the changes violated the plain language of OBRA

’87. See AHCA Comment Letter at 8, 51, 153 (June 22, 2017).1 CMS rejected AHCA’s statutory

objection in the preamble to the 2017 Final Rule. See 82 Fed. Reg. at 36,625.

       Plaintiffs Avon Nursing and Rehabilitation, et al. (collectively, the “Plaintiff-Facilities”)

subsequently filed this action challenging the legality of the 2017 Final Rule. As is often the case

in disputes of this nature, Defendant Secretary of Health and Human Services (the “Secretary”)

has responded by challenging this Court’s subject-matter jurisdiction under the auspices of 42

U.S.C. § 405(h), as incorporated by the Medicare Act, 42 U.S.C. § 1395ii. See, e.g., Jimmo v.

Sebelius, No. 5:11-cv-17, 2011 WL 5104355, at *3–12 (D. Vt. Oct. 25, 2011) (addressing similar

jurisdictional challenge). In essence, the Secretary contends that all of the Plaintiff-Facilities’

legal claims arise under the Medicare Act, thereby requiring presentment to the Secretary and

exhaustion of administrative remedies prior to judicial review. The Plaintiff-Facilities, in turn,



       1
          Available at https://www.regulations.gov/document?D=CMS-2017-0060-0095 (last vis-
ited Jan. 11, 2019).


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have challenged the Secretary’s assertion and have argued that certain of their legal claims arise

under the Medicaid Act, which does not contain a wholesale incorporation of § 405(h). The

parties have also submitted detailed briefing on the substantive validity of the 2017 Final Rule.

       Therefore, in its current posture, this case presents two legal questions of significant im-

portance to the Amici Associations and their members: one jurisdictional (and on which there is

conflicting case law), the other substantive (and of first impression) as it relates to the legality of

the 2017 Final Rule.

                                  SUMMARY OF ARGUMENT

       1.      The Court should reject the Secretary’s atextual jurisdictional argument with re-

spect to the Plaintiff-Facilities’ legal claims arising under the Medicaid Act. The simple fact is

that Congress could have, but did not, incorporate the jurisdictional limitations of § 405(h) for

purposes of the Medicaid Act. For example, in the 1965 legislation that created both the Medi-

care Act and the Medicaid Act, Congress chose to incorporate § 405(h) for purposes of the

Medicare Act only. Ample persuasive authority, including a decision by this Court, supports the

plain-language construction that § 405(h) cannot deprive a district court of jurisdiction to resolve

legal claims arising under the Medicaid Act.

       2.      The Secretary’s substantive defense of the 2017 Final Rule lacks merit regardless

of which of the two analytical steps this Court applies under the framework established by

Chevron U.S.A. Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837 (1984).

       a.      The 2017 Final Rule is invalid under Chevron step one, which asks whether Con-

gress has spoken to the precise question at issue. The 2017 Final Rule essentially represents a

return to the laissez-faire, cost-saving attitude toward surveys that led Congress to enact OBRA

’87 in the first place. It is an attitude precluded by the plain language and history of OBRA ’87.

In enacting that groundbreaking statute, Congress specified that all surveys conducted under


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subsection (g) of Social Security Act §§ 1819 and 1919, 42 U.S.C. §§ 1395i-3 and 1396r, “shall

be conducted by a multidisciplinary team of professionals (including a registered professional

nurse).” (Emphasis added.) A complaint survey is a survey conducted under subsection (g)—

specifically, paragraph (g)(4). Therefore, the 2017 Final Rule contradicts the plain language and

history of OBRA ’87 by asserting that States have discretion whether to include a registered

nurse on a complaint survey team.

       b.     Alternatively, the 2017 Final Rule fails under Chevron step two, which asks

whether the agency’s statutory interpretation is reasonable if Congress has not spoken to the

precise question at issue. For example, the Secretary’s statutory interpretation leads to absurd

results. Included among them would be the non-applicability of OBRA ’87’s stringent conflict-

of-interest requirements for members of survey teams. Under the Secretary’s interpretation of

OBRA ’87, a complaint survey could be conducted by the owner of the facility under review or

an employee of that facility. Moreover, the Secretary’s statutory interpretation would exempt

from the registered-nurse requirement surveys performed by the Secretary that are designed to

validate the performance of surveys conducted by States. That is clearly not what Congress

intended when it enacted OBRA ’87, the sole motivating factor of which was to ensure quality of

care provided to residents of SNFs/NFs. Requiring the Secretary and the States to comply with

the registered-nurse requirement for survey teams does just that while also ensuring that the

quality of care is judged by individuals who have the professional qualifications and experience

to do so.




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                                           ARGUMENT

I.     THE COURT SHOULD REJECT THE SECRETARY’S ATEXTUAL JURISDIC-
       TIONAL ARGUMENT WITH RESPECT TO LEGAL CLAIMS ARISING UN-
       DER THE MEDICAID ACT

       Federal courts have a “virtually unflagging obligation” to “exercise the jurisdiction given

them.” Colo. River Water Conservation Dist. v. United States, 424 U.S. 800, 817 (1976). As is

relevant here, Congress has instructed that “[t]he district courts shall have original jurisdiction of

all civil actions arising under the Constitution, laws, or treaties of the United States.” 28 U.S.C.

§ 1331. The Medicaid Act is clearly a law of the United States within the meaning of § 1331, and

the Plaintiff-Facilities expressly invoke § 1331 in challenging the 2017 Final Rule as being in

excess of the Secretary’s statutory authority under the Medicaid Act. See 2d Am. Compl. ¶ 46,

ECF No. 23.2

       The Secretary does not claim otherwise, nor does he deny the fact that the regulations

governing the survey process are contained in a part of the Code of Federal Regulations promul-

gated by authority of the Medicaid Act. See 42 C.F.R. § 488.2 (explaining that statutory basis of

part 488 includes Social Security Act § 1919, 42 U.S.C. § 1396r); see also 42 C.F.R. § 488.300

(“Sections 1819 and 1919 of the [Social Security] Act establish requirements for surveying SNFs

and NFs to determine whether they meet the requirements for participation in the Medicare and

Medicaid programs.”) (emphasis added). Instead, the Secretary essentially argues that because of



       2
          The statutory nomenclature in this area can be somewhat confusing. By way of back-
ground, Medicare and Medicaid are creatures of separate titles of the Social Security Act (titles
XVIII and XIX, respectively), which titles are often referred to as the “Medicare Act” and the
“Medicaid Act,” respectively. The Social Security Act has been codified in title 42 of the United
States Code. However, because title 42 of the United States Code has not been enacted into
positive law, Congress, the Secretary, and CMS typically refer to Medicare and Medicaid
statutory provisions by citing those provisions as they appear in the Social Security Act, not the
United States Code. Where appropriate, this brief endeavors to cite both the Social Security Act
and its accompanying codification in the United States Code.


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the substantial similarities between the text of Social Security Act §§ 1819 and 1919, 42 U.S.C.

§§ 1395i-3 and 1396r, this Court should as a matter of public policy apply § 405(h) to legal

claims arising under the Medicaid Act.

        “[P]olicy arguments,” the Supreme Court of the United States recently reaffirmed, “can-

not supersede the clear statutory text.” Universal Health Servs., Inc. v. United States ex rel.

Escobar, 136 S. Ct. 1989, 2002 (2016). Unlike the Medicare Act, which specifically incorporates

§ 405(h) by reference via 42 U.S.C. § 1395ii, no statute applies § 405(h) to all legal claims

arising under the Medicaid Act. Congress easily could have done so. For example, in 1965,

Congress created the Medicare Act in the same piece of legislation that created the Medicaid

Act. Compare Social Security Amendments of 1965, Pub. L. No. 89-97, § 102(a), 79 Stat. 286,

291 (adding title XVIII to the Social Security Act), with id. § 121(a), 79 Stat. at 343 (adding title

XIX to the Social Security Act). The 1965 Congress made a conscious decision to incorporate

§ 405(h) for purposes of claims arising under the Medicare Act. See id. § 102(a), 79 Stat. at 332

(creating Social Security Act § 1872, 42 U.S.C. § 1395ii, stating that the “provisions . . . of

subsections (a), (d), (e), (f), (h), (i), (j), (k), and (l) of section 205 [of the Social Security Act, 42

U.S.C. § 405], shall also apply with respect to this title to the same extent as they are applicable

with respect to title II [of the Social Security Act]”) (emphasis added). Congress included no

such provision when it created the Medicaid Act, see Social Security Amendments of 1965

§ 121(a), 79 Stat. at 343–52, nor has Congress enacted any such provision in the more than half a

century since it created the Medicaid Act.

        Therefore, as at least one member of this Court previously concluded, the Court should

reject the argument that § 405(h) applies to legal claims arising under the Medicaid Act. See In

re Greenwald, 48 B.R. 263, 272–73 (S.D.N.Y. 1984) (“Importantly, Medicaid, unlike Medicare,




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42 U.S.C. § 1395ii, contains no administrative exhaustion prerequisite restricting judicial review

for claims arising under the [Medicaid] Act.”); see also In re Townview Nursing Home, 28 B.R.

431, 440 (Bankr. S.D.N.Y. 1983) (rejecting argument that § 405(h) applies to legal claims arising

under the Medicaid Act); accord Ill. Council on Long Term Care Inc. v. Shalala, 143 F.3d 1072,

1076–77 (7th Cir. 1998) (finding § 405(h)’s jurisdictional limitation did not apply to pre-

enforcement challenge to the extent it challenged regulations promulgated under the Medicaid

Act), rev’d in part on other grounds, 529 U.S. 1 (2000), appeal following remand, No. 97-2315,

2000 WL 689693, at *1 (7th Cir. May 25, 2000) (“The Medicaid-related claims . . . were not

before the Supreme Court, and our disposition of those claims therefore is unaffected.”); R.I.

Hosp. v. Califano, 585 F.2d 1153, 1161–63 (1st Cir. 1978) (finding § 405(h) “presents no

jurisdictional bar in cases arising under” the Medicaid Act); Springdale Convalescent Ctr. v.

Mathews, 545 F.2d 943, 949 (5th Cir. 1977) (recognizing that “Congress by not incorporating 42

U.S.C. § 405(h) into the Medicaid Act has refused to insulate the Secretary’s exercise of statuto-

ry authority under that Act from judicial review”), abrogated in part on other grounds by Good

Samaritan Hosp. v. Shalala, 508 U.S. 402 (1993).3




       3
          The principal decision on which the Secretary relies in making a contrary argument—
Michigan Ass’n of Homes & Services for the Aging, Inc. v. Shalala, 127 F.3d 496 (6th Cir.
1997)—does not support a contrary result. The Amici Associations respectfully submit that the
Sixth Circuit’s textual analysis would be rejected by the Second Circuit and the Supreme Court.
See id. at 502 (“The Medicaid Act’s inclusion of § 405(g) [in Social Security Act § 1910(b)(2),
42 U.S.C. § 1396i(b)(2), a provision of the Medicaid Act that deals solely with the certification
of rural health clinics and intermediate care facilities for the mentally retarded] is clear textual
support for the proposition that Congress intended the exhaustion of administrative remedies
[required by 42 U.S.C. § 405(h)] to apply in cases such as the instant one.”) (emphasis added).


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II.     THE 2017 FINAL RULE VIOLATES OBRA ’87’S COMMAND THAT ALL
        SURVEY TEAMS INCLUDE A REGISTERED NURSE

        In relevant part, the Administrative Procedure Act provides that a “reviewing court shall

. . . hold unlawful and set aside agency action found to be . . . in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right.” 5 U.S.C. § 706. “When a court reviews an

agency’s construction of the statute which it administers, it is confronted with two questions.”

Chevron, 467 U.S. at 842. “First, always, is the question whether Congress has directly spoken to

the precise question at issue. If the intent of Congress is clear, that is the end of the matter; for

the court, as well as the agency, must give effect to the unambiguously expressed intent of

Congress.” Id. at 842–43. “The judiciary is the final authority on issues of statutory construction

and must reject administrative constructions which are contrary to clear congressional intent.” Id.

at 843 n.9. If the statute “remains ambiguous despite [a court’s] use of all relevant tools of

statutory construction and legislative history, [a court] proceed[s] to a second step of analysis to

examine whether the agency’s interpretation is reasonable, and not arbitrary, capricious, or

manifestly contrary to the statute.” Wei Sun v. Sessions, 883 F.3d 23, 29 (2d Cir. 2018) (internal

quotation marks and citation omitted).

        As set forth in section II.A, below, the 2017 Final Rule fails under a Chevron step-one

analysis. Alternatively, as set forth in section II.B, below, the same result would obtain even if

the Court were to evaluate the 2017 Final Rule under Chevron step two.

        A.     The 2017 Final Rule Fails Under Chevron Step One

        The Plaintiff-Facilities explain in detail why the statutory language at the heart of this

case—“[s]urveys under this subsection shall be conducted by a multidisciplinary team of profes-

sionals (including a registered professional nurse),” Social Security Act §§ 1819(g)(2)(E)(i) and

1919(g)(2)(E)(i), 42 U.S.C. §§ 1395i-3(g)(2)(E)(i) and 1396r(g)(2)(E)(i)—unambiguously means



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what it says: namely, that any survey conducted under subsection (g), which would include a

complaint survey conducted under paragraph (g)(4), must be conducted by a survey team that

includes at least one registered nurse. See Consol. Mem. of Law in Supp. of Pls.’ Mot. for

Summ. J. & in Opp’n to Gov’t Mot. to Dismiss at 28–36, ECF No. 37. Rather than burden the

Court by repeating the Plaintiff-Facilities’ arguments, the Amici Associations wish to supple-

ment those arguments by demonstrating that the history surrounding OBRA ’87 also supports the

Plaintiff-Facilities’ plain-language construction. See Cappetta v. Comm’r of Soc. Sec., 904 F.3d

158, 168 n.6 (2d Cir. 2018) (supplementing analysis of statute’s language with relevant legisla-

tive history at Chevron step one).

               1.     The Road to OBRA ’87 and Its Aftermath

       One cannot fully appreciate the statutory changes enacted by Congress in OBRA ’87

without understanding the historical context in which those changes were adopted. As is relevant

here, that historical context included lengthy litigation that ultimately required the Secretary to

make changes in the manner in which the Secretary surveyed Medicaid-participating facilities,

the Secretary’s failed rulemaking efforts to satisfy orders entered by the district court in that

litigation, a detailed study performed at the behest of the Secretary by the National Academy of

Sciences’ Institute of Medicine (“IoM”), and Congress’s statutory embrace of IoM’s recommen-

dations and application of them to both the Medicare and Medicaid programs.

                      a.      The Smith Litigation

       In 1975, a class action was filed in the United States District Court for the District of

Colorado against state and federal officials challenging, among other things, the Secretary’s

process for ensuring that quality care was provided in Medicaid-participating facilities. See

Estate of Smith v. Heckler, 747 F.2d 583, 585 (10th Cir. 1984). In 1984, the United States Court

of Appeals for the Tenth Circuit held that the Secretary


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       has a duty to establish a system to adequately inform herself as to whether the fa-
       cilities receiving federal money are satisfying the requirements of the [Medicaid]
       Act. These requirements include providing high quality patient care. This duty to
       be adequately informed is not only a duty to be informed at the time a facility is
       originally certified, but is a duty of continued supervision.

Id. at 589. The Tenth Circuit remanded the case to the district court to oversee the Secretary’s

efforts to satisfy the above statutory duty. Id. at 591–92.

                         b.     The IoM Study

       Meanwhile, in 1983, CMS—then known as the Health Care Financing Administration

(“HCFA”)4—contracted with IoM to conduct an extensive study of the regulation of nursing

homes. See Proposed Rule, Survey and Certification of Health Care Facilities, 52 Fed. Reg.

44,300, 44,300 (Nov. 18, 1987) (“November 1987 Proposed Rule”). IoM eventually published its

lengthy study in early 1986. See Inst. of Med., Improving the Quality of Care in Nursing Homes

(Mar. 1986) (“IoM Study”).5

       The IoM Study made two recommendations of particular relevance here.

       First, IoM found that “[t]he survey process should be coordinated with the complaint-

handling process, and the latter would be strengthened.” IoM Study at 34. Therefore, in “Rec-

ommendation 4-8,” IoM concluded that HCFA “should require states to have a specific proce-

dure and sufficient staff to properly investigate complaints.” Id. (emphasis omitted). As IoM

explained:

              Although complaints can be an important source of information about sub-
       standard conditions and form the basis for potential enforcement actions, federal
       guidelines about complaint handling are general (State Operations Manual, Sec-
       tion 3500), and sufficient staff for adequate complaint handling is not always


       4
         See Statement of Organization, Functions and Delegations of Authority, 66 Fed. Reg.
35,437 (July 5, 2001) (noting agency’s name change). This brief uses “HCFA” when referring to
events that occurred when the agency was commonly known by that acronym.
       5
           Available at http://nap.edu/646 (last visited Jan. 11, 2019).


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       available to state licensure and certification agencies. Each state agency has its
       own way of handling complaints. The committee’s survey found that 46 (of 47)
       state agencies conduct complaint investigations. Forty-one reported that their state
       had a statutory complaint and abuse reporting system, 34 operated by the survey
       agency and 7 by another agency. Of the survey agencies, 10 had separately staffed
       complaint units; the others used regular surveyors.

               Complaints are a potentially important source of information about com-
       pliance between annual certification inspection visits. There should be HCFA
       guidelines for analyzing and reporting complaints. The complaint procedure
       should include criteria for deciding whether to conduct an investigation, whether
       to conduct an onsite visit, how to schedule follow[-]up visits, and when to cite de-
       ficiencies. Complaint histories might also be used to decide whether to initiate an
       earlier survey or go directly to an extended survey or both.

Id. at 124–25.

       Second, in “Recommendation 4-16,” IoM addressed the qualifications of surveyors, ex-

plaining:

               Federal regulations and the State Operations Manual are very general re-
       garding survey agency staffing levels and qualifications. In practice, there are sig-
       nificant variations in the experience and educational backgrounds of the surveyors
       and the composition of the survey teams in each state, for example, how many
       nurses, generalists or sanitarians, and other specialists such as pharmacists, nutri-
       tionists, physicians are on the teams. Nationally, about half are nurses, a fifth are
       sanitarians, and most of the rest are engineers, administrators, and generalists.[]

              Surveyors come from a variety of backgrounds, and few have previous
       nursing home or long-term-care experience.

               Federal guidelines for survey staff composition permit states a great deal
       of latitude, and the HCFA’s data on surveyors indicate that some states are not
       staffed adequately to conduct surveys that are more oriented to resident care. For
       example, at least one state had no nurses on its survey staff in 1982.[] In 1983,
       eight states had only one or two licensed nurses on staff.[]

                Recommendation 4-16: The HCFA should revise its guidelines to make
       them more specific about the qualifications of surveyors and the composition and
       numbers of survey team staff necessary to conduct adequate resident-centered,
       outcome-oriented inspections of nursing homes. At a minimum, every survey team
       should include at least one nurse. For use on extended surveys, the survey agency
       should have specialists on staff (or, in small states, as consultants) in the discipli-
       nary areas covered by the conditions and standards (for example, pharmacy, nu-
       trition, social services, and activities).



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Id. at 136 (underlined emphasis added) (footnotes omitted).

                       c.      Pre-OBRA ’87 Rulemaking

       Three months after the IoM Study was released, HCFA published a final rule in response

to an order entered by the district court in Smith following remand from the Tenth Circuit. See

Medicare and Medicaid Programs Long-Term Care Survey, 51 Fed. Reg. 21,550 (June 13, 1986)

(“1986 Final Rule”). The 1986 Final Rule noted that comments received by the agency “recom-

mended various compositions for the survey team. The most common suggestion was that a team

consist of at least three health professionals, including at least one registered nurse.” Id. at

21,555 (emphasis added). However, HCFA rejected that suggestion, explaining that “[s]urvey

team size and composition are decided by the States as established in our agreements with States

to conduct surveys . . . .” Id. (emphasis added). While “guidelines” contained in another study

commissioned by HCFA “recommend[ed]” that all survey teams be led by a registered nurse,

HCFA declined to impose such a requirement. Id.

       Approximately one year later, and in response to a subsequent order by the district court

in Smith finding that the 1986 Final Rule was invalid, HCFA published another proposed rule

addressing the survey process. See Proposed Rule, Long Term Care Survey, 52 Fed. Reg. 24,752

(July 1, 1987) (“July 1987 Proposed Rule”). The July 1987 Proposed Rule once again refused to

impose a requirement that survey teams include at least one registered nurse. Instead, HCFA

stated that “[w]henever possible,” a survey team should include “at least one [registered nurse]

plus another [registered nurse] or a dietician or a pharmacist.” Id. at 24,818.

                       d.      OBRA ’87

       With the recommendations of the IoM Study in hand, in October 1987, the House of Rep-

resentatives began considering the legislative vehicle that would eventually become OBRA ’87:

House Bill 3545. See H.R. 3545, 100th Cong. (Oct. 29, 1987), reprinted in 133 Cong. Rec.


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29,966 (1987); see also H.R. Rep. No. 100-391, pt. 1, at 452 (1987) (describing IoM Study’s

recommendations), reprinted in 1987 U.S.C.C.A.N. 2313-1, 2313-272. Reflecting the fact that

different House committees have jurisdiction over Medicare and Medicaid—the House Ways

and Means Committee has jurisdiction over Medicare, while the House Energy and Commerce

Committee has jurisdiction over Medicaid—each of those respective committees was responsible

for drafting separate titles of House Bill 3545. See H.R. 3545 § 2 (bill’s table of contents indicat-

ing different committee responsibilities for various titles), reprinted in 133 Cong. Rec. at 29,966.

And each committee’s approach differed on the question of survey-team composition.

       The portion of House Bill 3545 having to do with the Medicare survey process was origi-

nally located in § 9312 of House Bill 3454. See 133 Cong. Rec. at 30,092–94. In relevant part,

§ 9312(b) of the bill would have added a new subsection (e) to Social Security Act § 1819. See

id. at 30,093. Included within the new subsection (e) was subparagraph (2)(F), stating:

       (F)     SURVEY TEAMS.—

              (i) IN GENERAL.—Surveys under this subsection shall be conducted by a
       multidisciplinary team of professionals (including a registered professional nurse
       and others selected in accordance with regulations of the Secretary).

               (ii) SPECIALIZED TEAMS.—Each State shall maintain and utilize a special-
       ized team for the purpose of identifying, surveying, gathering and preserving evi-
       dence, and carrying out appropriate enforcement actions against chronically sub-
       standard skilled nursing facilities. Such a team shall include (or have prompt ac-
       cess to) an attorney, an auditor, and appropriate health care professionals.

H.R. 3545 § 9312(b) (Oct. 29, 1987) (adding Social Security Act § 1819(e)(2)(F)), reprinted in

133 Cong. Rec. at 30,093 (quotation marks omitted). The Medicare portion of the bill also

required States to maintain adequate staff to investigate complaints. Id. § 9312(b) (adding Social

Security Act § 1819(e)(4)), reprinted in 133 Cong. Rec. at 30,093. All of the foregoing language

was later moved to § 9212(b) of the bill. See 133 Cong. Rec. at 30,225 (noting amendment




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deleting subtitle that had immediately preceded the subtitle containing the above provision and

redesignating subtitles accordingly).

       Meanwhile, the portion of House Bill 3545 having to do with the Medicaid survey pro-

cess—which was authored by the House Energy and Commerce Committee—did not impose any

specific requirements on the composition of survey teams. See H.R. 3545 § 4113(a) (Oct. 29,

1987) (adding Social Security Act § 1922(i)), reprinted in 133 Cong. Rec. at 30,028–29. Instead,

States would only be required to have survey teams that met whatever qualification requirements

were set by the Secretary. See id. § 4113(a) (adding Social Security Act § 1922(i)(2)(C)(ii)),

reprinted in 133 Cong. Rec. at 30,029. And while States would be required to maintain “ade-

quate staff” to investigate complaints, the Medicaid portion of House Bill 3545 was silent on

what, if any, qualifications such staff would have to possess. Id. § 4113(a) (adding Social Securi-

ty Act § 1922(i)(4)), reprinted in 133 Cong. Rec. at 30,029.

       The House passed the bill by a one-vote margin on October 29, 1987. 133 Cong. Rec. at

30,238. The following month, HCFA published yet another proposed rule addressing the survey

process, this time focused on the recommendations of the IoM Study. See November 1987

Proposed Rule, 52 Fed. Reg. 44,300. On the topic of “Staffing of Surveys,” the November 1987

Proposed Rule stated that “IoM recommended that HCFA should have the authority to specify

the minimum composition of State survey teams.” Id. at 44,303. However, HCFA rejected that

recommendation as being both unnecessary and beyond the agency’s statutory authority, stating:

“Since data indicate that nurses are full participants in almost all surveys, we have asked for new

legislative authority to deal with this issue only when there is evidence that a problem exists in a

particular State. Since change in this area requires legislation, these regulations cannot address

this issue further.” Id. (emphasis added).




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        Congress addressed this issue further by passing OBRA ’87 the following month after

additional back and forth between the Senate and House. Specifically, on December 11, 1987,

the Senate passed its amended version of House Bill 3545, which struck out all but the enacting

clause and inserted a substitute. 133 Cong. Rec. at 35,333.

        Section 4051(c)(4) of the Senate version of the bill added new certification-related sub-

sections to Social Security Act § 1864 and applied them to Medicare- and Medicaid-participating

facilities. Id. at 35,360–61. A new subsection (d) would have required States to conduct standard

surveys of facilities on a roughly annual basis in order to certify whether the facilities complied

with federal requirements. See id. § 4051(c)(4) (adding Social Security Act § 1864(d)), reprinted

in 133 Cong. Rec. at 35,360. Importantly, the Senate version of the bill then added a new subsec-

tion (e), stating:

        (e)(1)(A) Not later than January 1, 1990, certification surveys under subsection
        (d) shall be conducted by a multidisciplinary team of professionals (including a
        registered professional nurse and others selected in accordance with regulations of
        the Secretary).

        (B) Each State shall maintain and utilize a specialized survey team the duties of
        which shall include identifying, surveying, gathering and preserving evidence,
        and carrying out appropriate enforcement actions against chronically substandard
        facilities. Such a team shall include (or have prompt access to) an attorney, an au-
        ditor, and appropriate health care professionals. . . .

H.R. 3545 § 4051(c)(4) (Dec. 11, 1987) (adding Social Security Act § 1864(e)(1)), reprinted in

133 Cong. Rec. at 35,360 (emphasis added) (quotation marks and italics omitted). Therefore,

unlike the initial House-passed version of the bill, the Senate version of the bill limited the

registered-nurse requirement to “certification surveys under subsection (d).”

        The House and Senate both insisted on their respective versions of the bill and appointed

conferees. See 133 Cong. Rec. at 35,049–50, 35,108–09. The Conference Committee submitted

its report a few days later. See H.R. Rep. No. 100-495 (1987) (Conf. Rep.), reprinted in 1987



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U.S.C.C.A.N. 2313-1248. The Conference Committee report noted that existing federal law did

not impose any requirements on the composition of survey teams. Id. at 707, reprinted in 1987

U.S.C.C.A.N. at 2313-1453. However, after describing the House and Senate versions of the bill,

the Conference Committee report explained that the House provisions had been adopted with

certain amendments. Id. at 715, reprinted in 1987 U.S.C.C.A.N. at 2313-1461.

       The final version of the bill agreed to by the Conference Committee did three things of

relevance here.

       First, the Conference Committee adopted the broader “[s]urveys under this subsection”

language found in the original Medicare portion of House Bill 3545 drafted by the House Ways

and Means Committee. See H.R. 3545, 100th Cong. § 4202(a)(2) (Dec. 21, 1987) (adding Social

Security Act § 1819(g)(2)(E)(i)), reprinted in 133 Cong. Rec. at 36,816.

       Second, the Conference Committee added identical “[s]urveys under this subsection”

language to the Medicaid Act, thereby ensuring that the same registered-nurse requirement

would also apply under that separate, independent statutory scheme. See id. § 4212(a) (adding

Social Security Act § 1919(g)(2)(E)(i)), reprinted in 133 Cong. Rec. at 36,825.

       Third, the Conference Committee adopted modified—and permissively worded—

language regarding the use of specialized teams, adding the following identical sentence to both

the Medicare Act and the Medicaid Act: “A State may maintain and utilize a specialized team

(including an attorney, an auditor, and appropriate health care professionals) for the purpose of

identifying, surveying, gathering and preserving evidence, and carrying out appropriate enforce-

ment actions against chronically substandard” SNFs in the Medicare Act context and NFs in the

Medicaid Act context. Id. §§ 4202(a)(2) (adding Social Security Act § 1819(g)(4)), 4212(a)




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(adding Social Security Act § 1919(g)(4)), reprinted in 133 Cong. Rec. at 36,816, 36,825 (em-

phasis added).

       The Conference Committee version of House Bill 3545 was adopted by both Houses and

became law on December 22, 1987. 101 Stat. at 1330.

                       e.    Post-OBRA ’87 Rulemaking

       OBRA ’87 instructed that the new survey process would go into effect on October 1,

1990, “without regard to whether regulations to implement such amendments are promulgated by

such date.” OBRA ’87 §§ 4204(a), 4214(a), 101 Stat. at 1330-182, 1330-219. The Secretary did

not propose regulations to implement the new survey process until 1992. See Proposed Rule,

Survey, Certification and Enforcement of Skilled Nursing Facilities and Nursing Facilities, 57

Fed. Reg. 39,278 (Aug. 28, 1992). And it was not until 1994 that the Secretary finalized those

regulations. See Survey, Certification and Enforcement of Skilled Nursing Facilities and Nursing

Facilities, 59 Fed. Reg. 56,116 (Nov. 10, 1994) (“1994 Final Rule”).

       In relevant part, the 1994 Final Rule explained:

               Sections 1819(g)(2) and (3) and 1919(g)(2) and (3) of the [Social Securi-
       ty] Act, as added by sections 4202 and 4212 of OBRA ’87 specify the require-
       ments for types and periodicity of surveys that are to be conducted for each facili-
       ty; including standard, special, partial extended, extended, and validation surveys.
       These provisions include specific contents and procedures, frequency, consisten-
       cy, and team composition, and are intended to protect residents’ rights, health and
       safety and not unduly burden the facilities or the survey agencies. . . .

                 ...

              Sections 1819(g)(2)(A)(iii) and 1919(g)(2)(A)(iii) of the [Social Security]
       Act, as added by OBRA ’87 specify that a standard survey or an abbreviated
       standard survey may be conducted within 2 months of any change of ownership,
       administration, management of a facility or director of nursing to determine
       whether the change has resulted in any decline in the quality of care furnished by
       the facility. A survey conducted for the purpose of investigating a complaint
       against a facility is also considered a special survey.

1994 Final Rule, 59 Fed. Reg. at 56,118 (emphasis added).


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       The 1994 Final Rule confirmed the importance of the italicized sentence above by codi-

fying its content in the regulatory definition of a “special survey,” which stated:

       (e)       Special surveys.

                 ...

               (2)     The survey agency must review all complaint allegations and con-
       duct a standard or an abbreviated standard survey to investigate complaints of vio-
       lations of requirements by SNFs and NFs if its review of the allegation concludes
       that—

                        (i)    A deficiency in one or more of the requirements may have
                 occurred; and

                        (ii)      Only a survey can determine whether a deficiency or defi-
                 ciencies exist. . . . .

Id. at 56,239 (codified at 42 C.F.R. § 488.308(e)(2) (2016)). In doing so, the preamble to the

1994 Final Rule confirmed that not every complaint would necessitate a survey, explaining:

       We do not believe that it would be reasonable or economically feasible to require
       States, especially those with remotely located facilities, to survey all facilities for
       which complaints are received. The experience of State survey agencies has
       shown that many complaints are either groundless or are not potential violations
       of requirements for certification. This position, however, does not relieve the
       States from their responsibilities to properly evaluate and investigate all com-
       plaints that may affect a facility’s certification.

Id. at 56,159.

       Moreover, the 1994 Final Rule recognized the wisdom of Congress’s policy decision to

require a registered nurse on survey teams. “The registered nurse member of the team is neces-

sary,” HCFA explained, “because SNFs and NFs are primarily engaged in providing skilled

nursing care and/or related services.” Id. at 56,142.

                 2.     The 2017 Final Rule Contradicts the Congressional Intent Behind
                        OBRA ’87

       The month before Congress enacted OBRA ’87, HCFA publicly rejected IoM’s recom-

mendation that all survey teams be required to include at least one registered nurse. See Novem-



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ber 1987 Proposed Rule, 52 Fed. Reg. at 44,303. According to HCFA, IoM’s recommendation

was both unnecessary and beyond HCFA’s statutory authority. Id. Congress then settled the

question the following month with OBRA ’87’s enactment of clause (g)(2)(E)(i), instructing that

“[s]urveys under this subsection shall be conducted by a multidisciplinary team of professionals

(including a registered professional nurse).” (Emphasis added.) And in first implementing

OBRA ’87’s statutory scheme governing the survey process, HCFA acknowledged this under-

standing of the registered-nurse requirement when the agency promulgated its definition of

“special survey.” See 1994 Final Rule, 59 Fed. Reg. at 56,118, 56,239.

       Thirty years after OBRA ’87’s enactment, however, the 2017 Final Rule contorts the

permissive language of paragraph (g)(4)—which provides that a State “may maintain and utilize

a specialized team (including an attorney, an auditor, and appropriate health care professionals)

for the purpose of identifying, surveying, gathering and preserving evidence, and carrying out

appropriate enforcement actions” (emphasis added)—and uses it as a means to circumvent the

registered-nurse requirement imposed on all surveys by clause (g)(2)(E)(i). In doing so, the 2017

Final Rule mistakenly acts as if the initial Senate-passed version of House Bill 3545—which

expressly limited its registered-nurse requirement to annual certification surveys—became law.

It did not. The Conference Committee and Congress as a whole instead selected the House Ways

and Means Committee’s broader “[s]urveys under this subsection” language and included it in

both the Medicare Act and the Medicaid Act.

       Moreover, in the wake of the Smith litigation and the IoM Study, one of the core purposes

of OBRA ’87 was to limit the discretion of the Secretary and the States in order to ensure that

residents of SNFs/NFs received high-quality care. The 2017 Final Rule flips that congressional

intent on its head by suggesting that States have carte blanche to decide who can conduct a




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complaint survey. OBRA ’87 gave States no such discretion, nor did OBRA ’87 leave it to the

discretion of the Secretary whether to require that all survey teams include at least one registered

nurse. “Although administrative law has evolved to allow agencies significant leeway to fill in

the interstices of broad congressional mandates, . . . control over the substance of the rules that

govern the nation has always remained with Congress first. The Executive must comply with the

duly enacted commands of Congress.” Alameda Cnty. Med. Ctr. v. Leavitt, 559 F. Supp. 2d 1, 4–

5 (D.D.C. 2008). Such is the case here.

       B.      Alternatively, the 2017 Final Rule Fails Under Chevron Step Two

       Even if one assumes for the sake of argument that the 2017 Final Rule is not contrary to

the plain meaning of OBRA ’87, the Secretary’s statutory interpretation must still be reasonable.

See Chevron, 467 U.S. at 843–44. In conducting such a reasonableness inquiry, a court “consid-

er[s] whether the interpretation is arbitrary or capricious in substance, or manifestly contrary to

the statute. . . . [The] focus is thus on whether the [agency] has reasonably explained how the

permissible interpretation it chose is rationally related to the goals of the statute.” Good Fortune

Shipping SA v. Comm’r, 897 F.3d 256, 261 (D.C. Cir. 2018). As the Supreme Court has ex-

plained: “Chevron allows agencies to choose among competing reasonable interpretations of a

statute; it does not license interpretive gerrymanders under which an agency keeps parts of

statutory context it likes while throwing away parts it does not.” Michigan v. EPA, 135 S. Ct.

2699, 2708 (2015). As outlined below, the 2017 Final Rule’s interpretation of OBRA ’87 consti-

tutes an unreasonable interpretative gerrymander.

               1.      The Secretary’s Statutory Interpretation Leads to Absurd Results

       The Secretary claims that the statutory language “[s]urveys under this subsection” found

in clause (g)(2)(E)(i) refers solely to surveys performed under paragraph (g)(2) and not com-

plaint surveys performed under paragraph (g)(4) even though both paragraphs are found in


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subsection (g). See Mem. of Law in Supp. of Gov’t Cross-Mot. for Summ. J. & in Opp’n to Pls.’

Mot. for Summ. J. at 11–12, ECF No. 40. If that were correct, however, it would also mean that

the conflict-of-interest limitations contained in clause (g)(2)(E)(ii)—which conflict-of-interest

limitations apply to a “member of a survey team under this subsection” (emphasis added)—

would not apply to surveyors conducting a complaint survey under paragraph (g)(4). In other

words, under the Secretary’s view of the statute, States would be free to use as complaint sur-

veyors individuals who own the very facilities under review or who are employed by those

facilities. That clearly is not what Congress intended.

       The Secretary’s statutory interpretation would also lead to absurd results as it relates to

States whose survey performance the Secretary must evaluate through the use of validation

surveys under paragraph (g)(3). If the Secretary were correct that clause (g)(2)(E)(i)’s use of the

words “[s]urveys under this subsection” refers solely to surveys performed under paragraph

(g)(2), the Secretary would be free to conduct validation surveys using whomever he wants.

Once again, that clearly is not what Congress intended.

       The legislative history of OBRA ’87 demonstrates that Congress had one overarching

purpose in enacting that groundbreaking statute: ensuring that residents of SNFs/NFs receive

high-quality care. Congress addressed that goal in multiple ways, including by imposing strin-

gent registered-nurse requirements on SNFs/NFs. See Social Security Act § 1819(b)(4)(C)(i), 42

U.S.C. § 1395i-3(b)(4)(C)(i) (explaining that a SNF “must provide 24-hour licensed nursing

service which is sufficient to meet nursing needs of its residents and must use the services of a

registered professional nurse at least 8 consecutive hours a day, 7 days a week”); Social Security

Act § 1919(b)(4)(C)(i), 42 U.S.C. § 1396r(b)(4)(C)(i) (imposing similar requirement on NFs).




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Congress rationally imposed a corollary requirement on the Secretary and the States by requiring

that all survey teams include at least one registered nurse.

       The Secretary may now question the wisdom of that policy decision in light of States’

protestations that they lack sufficient staff and/or resources to comply with the registered-nurse

requirement. Cf. Gov’t Accountability Office, Nursing Homes: More Reliable Data and Con-

sistent Guidance Would Improve CMS Oversight of State Complaint Investigations, Rep. No.

GAO-11-280, at 21 (Apr. 2011) (noting States’ staff-shortage concerns while criticizing CMS’s

oversight of the complaint process).6 However, it is up to Congress and Congress alone to amend

the statutory scheme put in place by OBRA ’87. The 2017 Final Rule impermissibly weakens the

survey process established by Congress to the detriment of residents of SNFs/NFs and the

facilities that strive to provide residents with high-quality care.

                 2.     The Secretary’s Statutory Interpretation Ignores That Congress Does
                        Not Lightly Infringe Upon Traditional State Police Powers, Which In-
                        clude the Power to Regulate the Practice of Nursing

       “Federal law may not be interpreted to reach into areas of State sovereignty unless the

language of the federal law compels the intrusion.” Am. Bar Ass’n v. FTC, 430 F.3d 457, 471

(D.C. Cir. 2005) (internal quotation marks and citation omitted). Regulation of the practice of

nursing has long been within the traditional police powers of the States. See Kathleen A. Russell,

Nurse Practice Acts Guide and Govern Nursing Practice, 3 J. of Nursing Reg. 36, 37 (Oct. 2012)

(tracing origins of state nurse practice acts); see also, e.g., N.Y. Educ. Law art. 139 (New York

Nurse Practice Act).

       Despite the foregoing, the end result of the 2017 Final Rule is to allow non-nurses such

as dieticians to conduct complaint surveys and, in so doing, judge the quality of nursing care



       6
           Available at https://www.gao.gov/assets/320/317514.pdf (last visited Jan. 11, 2019).


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provided by licensed professional nurses in SNFs/NFs. Congress did not intend such an anoma-

lous result, nor did Congress speak with the clear language that would permit a regulatory

scheme that effectively federalizes the practice of nursing in SNFs/NFs and places it in the hands

of non-nurses. Instead, Congress acknowledged the traditional role of the States in regulating the

practice of nursing by requiring in clause (g)(2)(E)(i) that all survey teams include a “registered

professional nurse” (emphasis added)—i.e., a nurse licensed by the State’s nursing body.

                                        CONCLUSION

       For the foregoing reasons and those advanced by the Plaintiff-Facilities, the Court should

grant summary judgment in favor of the Plaintiff-Facilities and vacate that portion of the 2017

Final Rule at issue here.

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                                                      Motion for Admission Pro Hac Vice Pending




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